Case 2:04-cv-02733-.]PI\/|-STA Document 11 Filed 05/06/05 Page 1 of 2 Page|D 18

F£I.Et} ’;`i=." _ .\ .` nll.€.'§.

THE UNITED STATES DISTRICT COURT %

FOR THE WESTERN DISTRICT OF TENNESSEE 335 p§|§;`\|f ._ g; {L§."l {{}; 53
WESTERN DIVISION ' '

 

 

Daryl Hissong,

Plaintiff,
v. Case Number 04-2733 M
CCL Label, lnc.

Defendant.

 

ORDER OF DISMISSAL WITH PREJUDICE

 

Based on the parties to this cause having entered into a settlement agreement that
compromises and settles this case, this cause should be dismissed With prejudice

lt is, therefore, ORDERED that this cause is dismissed With prejudice

ENTERthisLQday OfMay,2005- QWQ MY C(Mq

U ited States District Judge

 

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J than Sch
Tenn. Disc. N99f16890 L{

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Memphis, Tennessee 38103

Attorneys for Defendant CCL Label, Inc.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:04-CV-02733 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

